	NO. 07-10-0138-CR

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL D

	APRIL 16, 2010

	______________________________


	CHRISTOPHER ELLIS FORTUNE,

Appellant

	v.

	THE STATE OF TEXAS,

Appellee
	_________________________________

	FROM THE 19[TH] DISTRICT COURT OF McLENNAN COUNTY;

	NO. 2008-1253-C1; HON. RALPH T. STROTHER, PRESIDING
	_______________________________

	On Motion to Dismiss
	_______________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
Appellant Christopher Ellis Fortune, by and through his attorney, has filed a motion to dismiss his appeal because he no longer desires to prosecute it.  Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having dismissed the appeal at appellants request, no motion for rehearing will be entertained, and our mandate will issue forthwith.
Do not publish.					Per Curiam		          
